Case 1:08-cr-00027-HYJ         ECF No. 178, PageID.547          Filed 09/19/08     Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,
                                                           File No: 1:08-CR-27
v.
                                                           HON. ROBERT HOLMES BELL
TERRY LYNN OTTMAN,

               Defendant.
                                       /


                             ORDER AND JUDGMENT
                    APPROVING REPORT AND RECOMMENDATION

       The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties,

and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1.      The Report and Recommendation of the Magistrate Judge (docket # 152) is approved

and adopted as the opinion of the Court.

       2.      Defendant's plea of guilty is accepted and defendant is adjudicated guilty of the

charges set forth in the Superseding Felony Information.

       3.      The written plea agreement is hereby continued under advisement pending

sentencing.


Dated: September 19, 2008                           /s/ Robert Holmes Bell
                                                    ROBERT HOLMES BELL
                                                    UNITED STATES DISTRICT JUDGE
